                                                Case 18-58406-sms                       Doc 222      Filed 07/30/20 Entered 07/30/20 18:31:35                                     Desc
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                                                                                         Form 1
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                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:    18-58406-SMS                                                                                                                       Trustee Name:        (300320) S. Gregory Hays
Case Name:       AMERICAN UNDERWRITING SERVICES, LLC                                                                                            Date Filed (f) or Converted (c): 07/27/2018 (c)
                                                                                                                                                § 341(a) Meeting Date:       06/27/2018
For Period Ending:      06/30/2020                                                                                                              Claims Bar Date: 11/13/2018

                                                      1                                                  2                             3                            4                      5                          6

                                             Asset Description                                        Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                          Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                       Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                         and Other Costs)                                                             Remaining Assets

    1       Cash on hand                                                                                           0.00                              0.00                                              0.00                        FA
            Administered during Chapter 11 case.

    2       Checking Account at Bank of North Georgia, a division of Synovus, xxxxxx4718                     250,000.00                              0.00                                              0.00                        FA
            Administered during Chapter 11 case.

    3       Checking Account at Bank of North Georgia, a Division of Synovus, xxxxxx5668                           0.00                              0.00                                              0.00                        FA
            Administered during Chapter 11 case.

    4       Checking Account at Bank of North Georgia, a Division of Synovus, xxxxxx5650                           0.00                              0.00                                              0.00                        FA
            Administered during Chapter 11 case.

    5       Undeposited checks                                                                               100,000.00                              0.00                                              0.00                        FA
            Administered during Chapter 11 case.

    6       Lease depoist, Roberts Blvd., LLC                                                                 12,000.00                              0.00                                              0.00                        FA
            Trustee vacated location. Any deposit was offset against unpaid rent.

    7       A/R 90 days old or less. Face amount = $1086389.56. Doubtful/Uncollectible                   1,086,389.56                          40,000.00                                       37,991.61                           FA
            accounts = $0.
            The majority of accounts receivable was administered during Chapter 11 case.

    8       A/R Over 90 days old. Face amount = $0.Doubtful/Uncollectible accounts = $0.                           0.00                              0.00                                              0.00                        FA

    9       5 office furniture sets (desk & credenza), 9 work stations, 13 office chairs, 16 desk              7,000.00                         7,000.00            OA                                 0.00                        FA
            chairs, 15 file cabinets, 1 sofa, 1 coffee table, 1 side table, 1 glass top stand up
            desk, 1 computer hutch, 2 conference tables. Valuation Method: Fair Market
            Value
            Abandoned per notice, Dkt # 110.

    10      9 computers, 20 monitors                                                                           3,000.00                              0.00                                              0.00                        FA
            Computers are being stored by Trustee. No significant value.

    11      Leasehold Interest: 1255 Roberts Blvd, Ste 102 Kennesaw GA                                             0.00                              0.00                                              0.00                        FA
            Personal property was abandoned per notice, Dkt # 110. Trustee vacated space.

    12      www.americanunderwritingservices.com                                                              Unknown                                0.00                                              0.00                        FA

    13      Refunds - Bond, Benefits, retainers and Insurance (u)                                              1,000.00                         1,000.00                                        4,216.73                           FA

    14      EastWest Bank Account # 0724 (u)                                                                  90,905.50                        90,905.50                                       90,905.50                           FA
                                               Case 18-58406-sms                      Doc 222    Filed 07/30/20 Entered 07/30/20 18:31:35                                     Desc
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                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:      18-58406-SMS                                                                                                                 Trustee Name:        (300320) S. Gregory Hays
Case Name:       AMERICAN UNDERWRITING SERVICES, LLC                                                                                        Date Filed (f) or Converted (c): 07/27/2018 (c)
                                                                                                                                            § 341(a) Meeting Date:       06/27/2018
For Period Ending:       06/30/2020                                                                                                         Claims Bar Date: 11/13/2018

                                                     1                                               2                             3                            4                      5                          6

                                             Asset Description                                    Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                      Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                   Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                     and Other Costs)                                                             Remaining Assets

    15       EastWest Bank Account # 0738 (u)                                                            448,696.42                       448,696.42                                       448,696.42                          FA

    16       EastWest Bank Account # 0864 (u)                                                             65,922.00                        65,922.00                                        65,922.00                          FA

    17       Funds Garnished by Prosight                                                                 225,508.99                       225,508.99                                       225,507.99                          FA
             See Adversary # 18-05106. Partially settled per Order, Dkt # 173.

    18       Adversary 19-05202. Claims against Russell Wiley (u)                                              0.00                              0.00                                              0.00                    0.00
             Adversary is open but no recovery anticipated.

    19       Adversary 19-05202 - Claims against Neil Wiley (u)                                                1.00                              1.00                                              0.00                    1.00
             Adversary is still pending. Resolution amount cannot be determined at this time.

    20       Adversary 19-05202. Claims against Wiley Group, Inc., TW3 Transportation, LLC,                    0.00                              0.00                                              0.00                        FA
             TW3 Logistics LLC, Transport South Insurance Agency, LLC (u)
             Default judgment entered on 9/30/19 against The Wiley Group, Inc., Transport
             South Insurance Agency, LLC, TW3 Logistics LLC, TW3 Transportation, LLC. No
             recovery expected.

   20        Assets               Totals       (Excluding unknown values)                           $2,290,423.47                       $879,033.91                                     $873,240.25                       $1.00



         Major Activities Affecting Case Closing:
                                        The Trustee filed Adversary case 19-05202. Complaint against Neil Wiley, James Russell Wiley, Wiley Group, Inc., TW3 Transportation, LLC, TW3
                                        Logistics LLC, Transport South Insurance Agency, LLC on 5/1/19 seeking to recovery avoidable transfers. Adversary should be resolved in the next
                                        months. Upon resolution of adversary, Trustee will submit his TFR.

         Initial Projected Date Of Final Report (TFR):                       12/31/2020                                Current Projected Date Of Final Report (TFR):                        12/31/2020


              07/30/2020                                                                                                 /s/S. Gregory Hays

                  Date                                                                                                   S. Gregory Hays
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                                                                                   Form 2
                                                                                                                                                                                                Page: 2-1
                                                                   Cash Receipts And Disbursements Record
Case No.:                       18-58406-SMS                                                                Trustee Name:                  S. Gregory Hays (300320)
Case Name:                      AMERICAN UNDERWRITING SERVICES, LLC                                         Bank Name:                     East West Bank
Taxpayer ID #:                  **-***6565                                                                  Account #:                     ******0724 AUS DIP-0724
For Period Ending:              06/30/2020                                                                  Blanket Bond (per case limit): $30,203,000.00
                                                                                                            Separate Bond (if applicable): N/A

    1          2                                      3                                                     4                                          5                       6                      7

  Trans.    Check or                     Paid To / Received From                      Description of Transaction                    Uniform         Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                                                                Tran. Code         $                        $

 07/27/18     {14}       Opening Chapter 7 Balance                   Funds Turned Over from Ch 11 Trustee                          1290-010                 90,905.50                                     90,905.50
 07/30/18    1017        Humana Emp Health Plan                      Invoice # 666484647. Paid per Order, Dkt # 145.               2690-000                                         3,671.42              87,234.08
 07/30/18    1018        Taylor Cline                                Employee Expense Reimbursement. Paid per Order, Dkt #         2690-000                                           28.80               87,205.28
                                                                     145.
 07/30/18    1019        Stephen Uhler                               Employee Expense Reimbursement. Paid per Order, Dkt #         2690-000                                           67.23               87,138.05
                                                                     145.
 07/30/18                Corporate Payroll Services                  Payroll fee - P/E 7/30/18. Paid per Order, Dkt # 145.         2690-000                                           60.20               87,077.85
 07/30/18                Corporate Payroll Services                  Payroll taxes - P/E 7/30/18. Paid per Order, Dkt # 145.       2690-720                                         4,351.92              82,725.93
 07/30/18                Corporate Payroll Services                  Wages - Direct Deposit Employees - P/E 7/30/18. Paid per      2690-720                                        11,157.88              71,568.05
                                                                     Order, Dkt # 145.
 08/01/18    1020        WNC LLC                                     Data Services. Paid per Order, Dkt # 145.                     2690-000                                          772.60               70,795.45
 08/17/18                East West Bank                              ANALYSIS ACTIVITY FOR 07/18. Paid per Order, Dkt # 145.       2690-000                                          127.65               70,667.80
 08/20/18                US Premium Finan                            Payment 180820 206884402 - E&O Policy Premium - Paid per      2420-750                                         2,707.34              67,960.46
                                                                     Order, Dkt # 139.
 08/28/18                American Underwriting Services              Transfer to RABO Acct # ******6600                            9999-000                                        67,460.46                500.00
 09/18/18                East West Bank                              ANALYSIS ACTIVITY FOR 08/18. Paid per Order, Dkt # 145.       2600-000                                           34.52                 465.48
 09/28/18                Corporate Payroll Services                  Payroll Fees - Quarterly Filing. Paid per Order, Dkt # 145.   2690-000                                           32.60                 432.88
 10/16/18                East West Bank                              ANALYSIS ACTIVITY FOR 09/18. Paid per Order, Dkt # 145.       2600-000                                          133.30                 299.58
 11/20/18                East West Bank                              ANALYSIS ACTIVITY FOR 10/18. Paid per Order, Dkt # 145.       2600-000                                          131.42                 168.16
 12/18/18                East West Bank                              ANALYSIS ACTIVITY FOR 11/18. Paid per Order, Dkt # 145.       2600-000                                          131.48                  36.68
 12/31/18                Corporate Payroll Services                  Payroll Fees - Quarterly Filing. Paid per Order, Dkt # 145.   2690-000                                          145.00                 -108.32
 01/02/19                American Underwriting Services              Transfer from AUS - EastWest Acct #0738                       9999-000                   200.00                                         91.68
 01/02/19                East West Bank                              Overdraft Fee. Paid per Order, Dkt # 145.                     2600-000                                           30.00                  61.68
 01/08/19                American Underwriting Services              Transfer to RABO Acct # 5022566600                            9999-000                                           61.68                    0.00

                                                                        COLUMN TOTALS                                                                       91,105.50              91,105.50                   $0.00
                                                                                Less: Bank Transfers/CDs                                                      200.00               67,522.14
                                                                        Subtotal                                                                            90,905.50              23,583.36
                                                                                Less: Payments to Debtors                                                                               0.00

                                                                        NET Receipts / Disbursements                                                    $90,905.50               $23,583.36




{ } Asset Reference(s)                                                                                                                                                  ! - transaction has not been cleared
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                                                                 Cash Receipts And Disbursements Record
Case No.:                       18-58406-SMS                                                            Trustee Name:                 S. Gregory Hays (300320)
Case Name:                      AMERICAN UNDERWRITING SERVICES, LLC                                     Bank Name:                    East West Bank
Taxpayer ID #:                  **-***6565                                                              Account #:                    ******0738 AUS DIP-0738
For Period Ending:              06/30/2020                                                              Blanket Bond (per case limit): $30,203,000.00
                                                                                                        Separate Bond (if applicable): N/A

    1          2                                  3                                                     4                                          5                       6                      7

  Trans.    Check or                   Paid To / Received From                     Description of Transaction                  Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                           Tran. Code          $                        $

 07/27/18     {15}       Opening Chapter 7 Balance                 Funds Turned Over from Ch 11 Trustee                        1290-010             448,696.42                                    448,696.42
 07/31/18     {7}        Customer Deposits                         Various Customer - Insurance Premiums                       1121-000                  9,747.62                                 458,444.04
 07/31/18     {7}        Dewey Young                               Insurance Premiums (Deposit Reversed 8/3/18)                1121-000                 90,869.92                                 549,313.96
 08/01/18     {7}        HUB INTERNATIONAL LIMITED                 Insurance Premium Collections                               1121-000                 22,001.37                                 571,315.33
 08/03/18     {7}        Dewey Young                               Reverse Deposit from 8/1/18                                 1121-000                -90,869.92                                 480,445.41
 08/08/18     {7}        US Premium Finance                        Insurance Premium Collection                                1121-000                  2,304.03                                 482,749.44
 08/28/18                American Underwriting Services            Transfer to RABO Acct # xxxxxx6600                          9999-000                                     482,249.44                  500.00
 09/20/18     {7}        Top Premium Finance                       Insurance Premium Collection                                1121-000                  2,371.00                                     2,871.00
 01/02/19                American Underwriting Services            Transfer to AUS - EastWest Acct #0724                       9999-000                                         200.00                2,671.00
 01/08/19                American Underwriting Services            Transfer to RABO Acct # xxxxx6600                           9999-000                                        2,671.00                    0.00

                                                                     COLUMN TOTALS                                                                  485,120.44               485,120.44                    $0.00
                                                                             Less: Bank Transfers/CDs                                                        0.00            485,120.44
                                                                     Subtotal                                                                       485,120.44                     0.00
                                                                             Less: Payments to Debtors                                                                             0.00

                                                                     NET Receipts / Disbursements                                                  $485,120.44                    $0.00




{ } Asset Reference(s)                                                                                                                                              ! - transaction has not been cleared
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                                                                Cash Receipts And Disbursements Record
Case No.:                       18-58406-SMS                                                           Trustee Name:                 S. Gregory Hays (300320)
Case Name:                      AMERICAN UNDERWRITING SERVICES, LLC                                    Bank Name:                    East West Bank
Taxpayer ID #:                  **-***6565                                                             Account #:                    ******0864 AUS Opr - Comm
For Period Ending:              06/30/2020                                                             Blanket Bond (per case limit): $30,203,000.00
                                                                                                       Separate Bond (if applicable): N/A

    1          2                                  3                                                    4                                          5                       6                      7

  Trans.    Check or                  Paid To / Received From                    Description of Transaction                   Uniform          Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                                                          Tran. Code          $                        $

 08/01/18     {16}       Opening Chapter 7 Balance                Funds Turned Over from Ch 11 Trustee                        1290-010                 65,922.00                                     65,922.00
 08/28/18                American Underwriting Services           Transfer to RABO Acct # xxxxxx6600                          9999-000                                        65,422.00                500.00
 01/08/19                American Underwriting Services           Transfer to RABO Acct # xxxxx6600                           9999-000                                          500.00                    0.00

                                                                    COLUMN TOTALS                                                                      65,922.00              65,922.00                   $0.00
                                                                            Less: Bank Transfers/CDs                                                        0.00              65,922.00
                                                                    Subtotal                                                                           65,922.00                   0.00
                                                                            Less: Payments to Debtors                                                                              0.00

                                                                    NET Receipts / Disbursements                                                   $65,922.00                     $0.00




{ } Asset Reference(s)                                                                                                                                             ! - transaction has not been cleared
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                                                                   Cash Receipts And Disbursements Record
Case No.:                       18-58406-SMS                                                                Trustee Name:                         S. Gregory Hays (300320)
Case Name:                      AMERICAN UNDERWRITING SERVICES, LLC                                         Bank Name:                            Mechanics Bank
Taxpayer ID #:                  **-***6565                                                                  Account #:                            ******6600 Checking
For Period Ending:              06/30/2020                                                                  Blanket Bond (per case limit): $30,203,000.00
                                                                                                            Separate Bond (if applicable): N/A

    1          2                                   3                                                         4                                                5                       6                      7

  Trans.    Check or                     Paid To / Received From                      Description of Transaction                           Uniform          Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                                                                       Tran. Code          $                       $

 08/29/18                American Underwriting Services              Transfer from Account # 0724 at East West Bank                        9999-000               67,460.46                                      67,460.46
 08/29/18                American Underwriting Services              Transfer from Account # 0864 at East West Bank                        9999-000               65,422.00                                  132,882.46
 08/29/18                American Underwriting Services              Transfer from Account # 0738 at East West Bank                        9999-000            482,249.44                                    615,131.90
 08/31/18                Rabobank, N.A.                              Bank and Technology Services Fees                                     2600-000                                          29.49           615,102.41
 09/05/18     {13}       Supportive Insurance Services LLC           Refund of Retainer                                                    1229-000                1,000.00                                  616,102.41
 09/11/18     101        Guardian                                    Group # 521172. Paid per order dated 9/27/18, docket # 145.           2690-000                                         669.22           615,433.19
 09/13/18     {13}       WageWorks                                   Reimbursement of cobra insurance premiums (Angela Wiley).             1229-000                   534.20                                 615,967.39
                                                                     See adjustment on 9/20/18.
 09/13/18     102        U.S. Premium Finance                        Errors and omissions tail policy. Paid per Order, Dkt # 151.          2420-750                                        2,707.34          613,260.05
 09/18/18     {13}       WageWorks, inc                              August 2018 Premium Reimbursement/refund                              1229-000                1,100.71                                  614,360.76
 09/20/18     103        Stephen Uhler                               Constant Contact payment reimbursement for announcement               2690-000                                          45.00           614,315.76
                                                                     to agents and carriers. Paid per order, docket # 145.
 09/20/18     104        Warrington Network Consultants              Data hosting and services. Invoice #CW 5513 ($648.75) and             2690-000                                         766.15           613,549.61
                                                                     invoice #MSP-5514 ($117.40). Paid per order, dkt # 145.
 09/20/18     {13}       WageWorks, Inc                              Deposit Adjustment. Amount recorded as $534.20 instead of             1229-000                    -0.18                                 613,549.43
                                                                     actual of $534.02. See deposited dated 9/13/18.
 09/28/18                Rabobank, N.A.                              Bank and Technology Services Fees                                     2600-000                                         471.96           613,077.47
 09/30/18                WageWorks, Inc                              Adjustment. Transaction added in Error during reconciliation          1229-000                   534.20                                 613,611.67
                                                                     process and later reversed.
                                                                      Deposit Adjustment. Amount recorded as $534.20 instead of
                                                                     actual of $534.02. See deposit dated 9/13/18.
 09/30/18                WageWorks, Inc                              Adjustment. Transaction added in Error during reconciliation          1229-002                 -534.20                                  613,077.47
                                                                     process and later
                                                                     reversed.
                                                                      Deposit Adjustment. Amount
                                                                     recorded as $534.20 instead of
                                                                     actual of $534.02. See deposit
                                                                     dated 9/13/18.
 10/03/18     105        WNC LLC                                     Data hosting and IT services. Invoice #CW 5629 ($67.50) and           2690-000                                         184.90           612,892.57
                                                                     invoice #MSP-5623 ($117.40). Paid per order, dkt # 145
 10/03/18     106        Hays Financial Consulting, LLC              Reimbursement of email hosting charged by Intermedia paid by          2690-000                                        1,534.22          611,358.35
                                                                     Hays Financial. Paid per order, dkt # 145.
 10/15/18     107        U.S. E&O Brokers                            Errors and omissions tail policy . Paid per Order, Dkt # 151.         2420-750                                       37,700.00          573,658.35
 10/31/18                Rabobank, N.A.                              Bank and Technology Services Fees                                     2600-000                                         540.69           573,117.66


                                                                                                                                     Page Subtotals:          $617,766.63             $44,648.97


{ } Asset Reference(s)                                                                                                                                                         ! - transaction has not been cleared
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                                                                       Cash Receipts And Disbursements Record
Case No.:                       18-58406-SMS                                                                    Trustee Name:                      S. Gregory Hays (300320)
Case Name:                      AMERICAN UNDERWRITING SERVICES, LLC                                             Bank Name:                         Mechanics Bank
Taxpayer ID #:                  **-***6565                                                                      Account #:                         ******6600 Checking
For Period Ending:              06/30/2020                                                                      Blanket Bond (per case limit): $30,203,000.00
                                                                                                                Separate Bond (if applicable): N/A

    1          2                                      3                                                          4                                             5                      6                      7

  Trans.    Check or                   Paid To / Received From                              Description of Transaction                      Uniform          Deposit            Disbursement          Account Balance
   Date      Ref. #                                                                                                                        Tran. Code          $                      $

 11/06/18     108        Hays Financial Consulting, LLC                    Reimbursement of email hosting charged by Intermedia paid by     2690-000                                        770.43           572,347.23
                                                                           Hays Financial. Paid per order, dkt # 145.
 11/06/18     109        Michelle Madison                                  14 Hrs @ $50/hr. Thru 11/5/18. Consulting work for research      2690-000                                        700.00           571,647.23
                                                                           and compilation of data. Paid per order, dkt # 145.
 11/06/18     110        WNC LLC                                           Data hosting and IT services. Invoice CW 5720 ($502.35) and      2690-000                                        619.75           571,027.48
                                                                           invoice MSP-5689 ($117.40). Paid per order, Dkt # 145.
 11/28/18     111        NRAI, Inc.                                        Registered Agent fee. invoice Number ********72-00. Paid per     2690-000                                         48.00           570,979.48
                                                                           order, Dkt # 145.
 11/28/18     112        WNC LLC                                           Data hosting and IT services, Docket # 145. Invoice # MSP-       2690-000                                        117.40           570,862.08
                                                                           5752. Paid per Order, dkt # 145.
 12/10/18     113        Michelle Madison                                  5 Hrs @ $50/hr. Thru 12/5/18 . Consulting work for research      2690-000                                        250.00           570,612.08
                                                                           and compilation of data. Paid per order, dkt # 145.
 12/10/18     114        WNC LLC                                           Data hosting and IT services. Invoice # CW5782. Paid per         2690-000                                        705.79           569,906.29
                                                                           Order, Dkt # 145.
 12/10/18     115        Hays Financial Consulting, LLC                    Reimbursement of email hosting charged by Intermedia paid by     2690-000                                        768.24           569,138.05
                                                                           Hays Financial. Paid per order, dkt # 145.
 12/18/18     {13}       Global Surety, LLC                                Ch 11 Bond # 016215806 Refund                                    1229-000                1,582.00                                 570,720.05
 01/09/19                American Underwriting Services (East West Bank)   Transfer from Closed DIP Accounts at East West Bank              9999-000                3,232.68                                 573,952.73
 01/28/19     116        US Premium Finance                                Return of Funds Erroneously paid to Trustee. Paid per Order,     8500-002                                      46,369.90          527,582.83
                                                                           Dkt # 168.
 01/28/19     117        AIG                                               Payment of Chapter 11 Premiums. Paid per Order, Dkt # 168.       6990-000                                      55,442.98          472,139.85
 02/05/19     118        American Millennium Insurance Company             Payment of Chapter 11 Premiums. Paid per Order, Dkt # 168.       6990-000                                      58,091.52          414,048.33
 02/05/19     119        American Southern Insurance Company               Payment of Chapter 11 Premiums. Paid per Order, Dkt # 168.       6990-000                                      51,727.49          362,320.84
 02/05/19     120        Capital Insurance Brokers                         Over payment of Check # 2732. Payment of Chapter 11              6990-000                                        150.00           362,170.84
                                                                           Premiums. Paid per Order, Dkt # 168.
 02/25/19     {17}       The State Court of Gwinnett County                Pro Sight Garnished Funds released to Trustee per settlement     1141-000            225,507.99                                   587,678.83
                                                                           and Order, Dkt. # 173.
 03/27/19     121        WNC LLC                                           Invoices MSP-5828, MSP-5894,CW-5918,MSP-5963,MSP-                2690-000                                        570.85           587,107.98
                                                                           6034.IT services January 2019 - March 2019. Paid per Order,
                                                                           Docket # 188.
 03/27/19     122        Hays Financial Consulting, LLC                    Reimbursement of Jan and Feb 2019 Debtor Email Hosting           2690-000                                       1,535.36          585,572.62
                                                                           charges at Intermedia. Paid per docket # 188.
 03/27/19     123        Corporate Payroll Services                        Customer ID: AMUNDE. Paid per Order, Docket # 188.               2690-000                                        849.00           584,723.62
 04/17/19     124        American Inter-Fidelity Exchange                  Payment of Chapter 11 Premiums. Paid per Order, Dkt # 168.       6990-000                                      75,178.37          509,545.25

                                                                                                                                      Page Subtotals:          $230,322.67           $293,895.08


{ } Asset Reference(s)                                                                                                                                                         ! - transaction has not been cleared
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                                                                 Cash Receipts And Disbursements Record
Case No.:                       18-58406-SMS                                                            Trustee Name:                       S. Gregory Hays (300320)
Case Name:                      AMERICAN UNDERWRITING SERVICES, LLC                                     Bank Name:                          Mechanics Bank
Taxpayer ID #:                  **-***6565                                                              Account #:                          ******6600 Checking
For Period Ending:              06/30/2020                                                              Blanket Bond (per case limit): $30,203,000.00
                                                                                                        Separate Bond (if applicable): N/A

    1          2                                   3                                                    4                                               5                      6                      7

  Trans.    Check or                   Paid To / Received From                     Description of Transaction                        Uniform          Deposit            Disbursement          Account Balance
   Date      Ref. #                                                                                                                 Tran. Code          $                      $

 04/22/19     125        ACE Westchester Specialty Group           Payment of Chapter 11 Premiums. Paid per Order, Dkt # 168.        6990-000                                       1,203.62          508,341.63
 05/16/19     126        Brit UW Limited                           Premium payments approved for payment per Order, Dkt #            6950-000                                      27,470.34          480,871.29
                                                                   193.
                                                                   Stopped on 08/26/2019
 05/17/19     127        Integro Insurance Brokers Limited         Payment of Premiums per Order, Dkt # 193. - PAYMENT               6950-000                                   123,394.58            357,476.71
                                                                   STOPPED. REPLACEMENT ORDER TO CORRECT PAYEE
                                                                   TO BE PREPARED.
                                                                   Stopped on 08/19/2019
 08/19/19     127        Integro Insurance Brokers Limited         Payment of Premiums per Order, Dkt # 193. - PAYMENT               6950-000                                  -123,394.58            480,871.29
                                                                   STOPPED. REPLACEMENT ORDER TO CORRECT PAYEE
                                                                   TO BE PREPARED.
                                                                   Stopped: check issued on 05/17/2019
 08/26/19     126        Brit UW Limited                           Premium payments approved for payment per Order, Dkt #            6950-000                                   -27,470.34            508,341.63
                                                                   193.
                                                                   Stopped: check issued on 05/16/2019
 08/29/19     128        Hays Financial Consulting, LLC            Reimbursement of March and April 2019 Debtor Email Hosting        2690-000                                        899.40           507,442.23
                                                                   charges at Intermedia. Paid per docket # 188.
 08/29/19     129        WNC LLC                                   Invoices MSP-6114, MSP-6179,MSP-6242,MSP-6298,MSP-                2690-000                                        587.00           506,855.23
                                                                   6358. IT services Apr 2019 - Aug 2019. Paid per Order,
                                                                   Dkt#188.
 10/03/19     130        Brit UW Limited                           Premium payments approved for payment per Order, Dkt # 193        6950-000                                      27,470.34          479,384.89
                                                                   and Dkt # 214.
 10/03/19     131        Integro Insurance Brokers Limited         Payment of Premiums per Order, Dkt # 193 and Dkt # 214.           6950-000                                   123,394.58            355,990.31
 10/03/19     132        WNC LLC                                   Invoices MSP-6421, CW5984 and CW6196. IT and data                 2690-000                                        258.65           355,731.66
                                                                   hosting services. Paid per Orders, Dkt#188 and Dkt # 216.
 10/18/19     133        Michelle Madison                          4 Hours @ $50/hour. Consulting work for claim payment             2690-000                                        200.00           355,531.66
                                                                   research. Paid per order dated 10/3/19, docket # 216.
 11/06/19     134        WNC LLC                                   Invoice MSP-6483. IT and data hosting services. Paid per          2690-000                                        258.65           355,273.01
                                                                   Order, Dkt#188.
                                                                   Voided on 11/06/2019
 11/06/19     134        WNC LLC                                   Invoice MSP-6483. IT and data hosting services. Paid per          2690-000                                        -258.65          355,531.66
                                                                   Order, Dkt#188.
                                                                   Voided: check issued on 11/06/2019
 11/06/19     135        WNC LLC                                   Invoice MSP-6483. IT and data hosting services. Paid per          2690-000                                        117.40           355,414.26
                                                                   Order, Dkt#188.
 12/02/19     136        WNC LLC                                   Invoice MSP-6544. IT and data hosting services. Paid per          2690-000                                        117.40           355,296.86
                                                                   Order, Dkt#188.
 12/04/19     {7}        Cottingham & Butler                       Surplus Lines & Stamping Fees on policies                         1121-000                1,567.59                                 356,864.45

                                                                                                                               Page Subtotals:              $1,567.59         $154,248.39


{ } Asset Reference(s)                                                                                                                                                  ! - transaction has not been cleared
                                                 Case 18-58406-sms       Doc 222           Filed 07/30/20 Entered 07/30/20 18:31:35                           Desc
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                                                                  Cash Receipts And Disbursements Record
Case No.:                        18-58406-SMS                                                             Trustee Name:                 S. Gregory Hays (300320)
Case Name:                       AMERICAN UNDERWRITING SERVICES, LLC                                      Bank Name:                    Mechanics Bank
Taxpayer ID #:                   **-***6565                                                               Account #:                    ******6600 Checking
For Period Ending:               06/30/2020                                                               Blanket Bond (per case limit): $30,203,000.00
                                                                                                          Separate Bond (if applicable): N/A

    1          2                                     3                                                    4                                          5                    6                      7

  Trans.    Check or                    Paid To / Received From                      Description of Transaction                  Uniform          Deposit           Disbursement         Account Balance
   Date      Ref. #                                                                                                             Tran. Code          $                     $

 01/16/20     137        WNC LLC                                    Invoice MSP-6622. IT and data hosting services December      2690-000                                      117.40            356,747.05
                                                                    2019. Paid per Order, Dkt#188.
 01/30/20                Transition transfer Debit                  Transition transfer debit. Transfer from Mechanics Bank      9999-000                                  356,747.05                     0.00
                                                                    account to East West Bank account

                                                                       COLUMN TOTALS                                                                  849,656.89            849,656.89                    $0.00
                                                                               Less: Bank Transfers/CDs                                               618,364.58            356,747.05
                                                                       Subtotal                                                                       231,292.31            492,909.84
                                                                               Less: Payments to Debtors                                                                          0.00

                                                                       NET Receipts / Disbursements                                                  $231,292.31          $492,909.84




{ } Asset Reference(s)                                                                                                                                             ! - transaction has not been cleared
                                                Case 18-58406-sms       Doc 222           Filed 07/30/20 Entered 07/30/20 18:31:35                               Desc
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                                                                 Cash Receipts And Disbursements Record
Case No.:                       18-58406-SMS                                                            Trustee Name:                      S. Gregory Hays (300320)
Case Name:                      AMERICAN UNDERWRITING SERVICES, LLC                                     Bank Name:                         East West Bank
Taxpayer ID #:                  **-***6565                                                              Account #:                         ******0022 Demand Deposit Account
For Period Ending:              06/30/2020                                                              Blanket Bond (per case limit): $30,203,000.00
                                                                                                        Separate Bond (if applicable): N/A

    1          2                                      3                                                  4                                             5                     6                      7

  Trans.    Check or                   Paid To / Received From                      Description of Transaction                      Uniform         Deposit            Disbursement          Account Balance
   Date      Ref. #                                                                                                                Tran. Code         $                      $

 01/30/20                Transition Transfer Credit                Transition Transfer Credit. Transfer from Mechanics Bank        9999-000             356,747.05                                  356,747.05
                                                                   account to East West Bank account
 02/06/20    1000        Hays Financial Consulting, LLC            Reimbursement of Feb 2020 Debtor Email Hosting charges at       2690-000                                         44.97           356,702.08
                                                                   Intermedia. Paid per docket # 188.
 02/06/20    1001        WNC LLC                                   Invoice MSP-6670. Monthly IT and data hosting services. Paid    2690-000                                        118.00           356,584.08
                                                                   per Order, Dkt#188.
 03/03/20    1002        WNC LLC                                   Invoice MSP-6737. Monthly IT and data hosting services (Feb     2690-000                                        118.00           356,466.08
                                                                   2017). Paid per Order, Dkt#188.
 03/31/20                East West Bank                            Bank and Technology Service Fee                                 2600-000                                        284.88           356,181.20
 04/02/20    1003        WNC LLC                                   Invoice MSP-6804. Monthly IT and data hosting services          2690-000                                        118.00           356,063.20
                                                                   (March 2020). Paid per Order, Dkt#188.
 04/02/20    1004        Hays Financial Consulting, LLC            Reimbursement of March 2020 Debtor Email Hosting charges        2690-000                                         44.97           356,018.23
                                                                   at Intermedia. Paid per docket # 188.
 04/10/20    1005        Hays Financial Consulting, LLC            Reimbursement of April 2020 Debtor Email Hosting charges at     2690-000                                         44.97           355,973.26
                                                                   Intermedia. Paid per docket # 188.
 04/30/20                East West Bank                            Bank and Technology Services Fees                               2600-000                                        569.10           355,404.16
 05/08/20    1006        WNC LLC                                   Invoice MSP-6885. Monthly IT and data hosting services (April   2690-000                                        118.00           355,286.16
                                                                   2020). Paid per Order, Dkt#188.
 05/08/20    1007        Hays Financial Consulting, LLC            Reimbursement of May 2020 Debtor Email Hosting charges at       2690-000                                         52.95           355,233.21
                                                                   Intermedia. Paid per docket # 188.
 05/29/20                East West Bank                            Bank and Technology Services Fees                               2600-000                                        548.97           354,684.24
 06/04/20    1008        WNC LLC                                   Invoice MSP-6946. Monthly IT and data hosting services (May     2690-000                                        118.00           354,566.24
                                                                   2020). Paid per Order, Dkt#188.
 06/04/20    1009        Hays Financial Consulting, LLC            Reimbursement of June 2020 Debtor Email Hosting charges at      2690-000                                         48.96           354,517.28
                                                                   Intermedia. Paid per docket # 188.
 06/30/20                East West Bank                            Bank and Technology Services Fees                               2600-000                                        604.53           353,912.75

                                                                      COLUMN TOTALS                                                                     356,747.05                2,834.30         $353,912.75
                                                                              Less: Bank Transfers/CDs                                                  356,747.05                    0.00
                                                                      Subtotal                                                                                 0.00               2,834.30
                                                                              Less: Payments to Debtors                                                                               0.00

                                                                      NET Receipts / Disbursements                                                            $0.00              $2,834.30




{ } Asset Reference(s)                                                                                                                                                ! - transaction has not been cleared
                                          Case 18-58406-sms   Doc 222         Filed 07/30/20 Entered 07/30/20 18:31:35                       Desc
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                                                        Cash Receipts And Disbursements Record
Case No.:                  18-58406-SMS                                                    Trustee Name:                 S. Gregory Hays (300320)
Case Name:                 AMERICAN UNDERWRITING SERVICES, LLC                             Bank Name:                    East West Bank
Taxpayer ID #:             **-***6565                                                      Account #:                    ******0022 Demand Deposit Account
For Period Ending:         06/30/2020                                                      Blanket Bond (per case limit): $30,203,000.00
                                                                                           Separate Bond (if applicable): N/A


                                        Net Receipts:         $873,240.25
                           Plus Gross Adjustments:                  $0.00
                         Less Payments to Debtor:                   $0.00
                 Less Other Noncompensable Items:              $46,369.90

                                          Net Estate:         $826,870.35




                                                                 TOTAL - ALL ACCOUNTS                          NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                 ******0724 AUS DIP-0724                              $90,905.50            $23,583.36          $0.00

                                                                 ******0738 AUS DIP-0738                               $485,120.44                     $0.00           $0.00

                                                                 ******0864 AUS Opr - Comm                              $65,922.00                     $0.00           $0.00

                                                                 ******6600 Checking                                   $231,292.31              $492,909.84            $0.00

                                                                 ******0022 Demand Deposit Account                              $0.00               $2,834.30    $353,912.75

                                                                                                                       $873,240.25             $519,327.50       $353,912.75
